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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

        Plaintiff,
                                                       Civil Action No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

        Defendant


              ORR SAFETY CORPORATION'S FIl2ST DISCOVERY REQUESTS
                TO IRONCLAD PERFORMANCE WEAR CORPORATION


        Defendant/Counterclaimant Orr Safety Corporation ("Orr") propounds this first set of

written discovery (the "Discovery Requests") pursuant to Fed. R. Civ. P. 33, 34 and 36 upon

Plaintiff/Counterclaim Defendant Ironclad Performance Vltear Corporation ("Ironclad").

                                        INSTRUCTIONS

        1.      Please furnish all information, however obtained, that is within your knowledge,

possession, or control (or your agents' or attorneys'), or which may be reasonably ascertained by

you.

        2.      Please supplement the initial responses to these Discovery Requests in writing to

counsel for Plaintiff after service of the responses if information is ascertained or acquired that

falls within the scope of these Discovery Requests.

        3.      If you are unable to respond to any part of these Discovery Requests in full, after

exercising due diligence to secure the information necessary to do so, please respond to the

extent possible. Please specify that the response is or may not be complete.


OaR's FiasT DiscovEav REQuESTs




                                                                                     APPENDIX - 1
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        REQUEST FOR PRODUCTION NO.46: Produce any and all documents provided to

or relied upon by any expert retained by Ironclad in this case.

        REQUEST FOR PRODUCTION NO.47: Produce any and all documents not subject

to attorney-client privilege, and not otherwise responsive to the above requests, that you contend

are supportive of any of the allegations or claims in the Complaint or Ironclad's defenses to the

Counterclaim.

        REQUEST FOR PRODUCTION NO.48: Produce the personnel files for Ed Jaeger,

Scott Jarus, Fred Castro, Thomas Kreig, Annie Evans, Jim Rice, Lee Turlington, Rhonda

Hoffarth, and Bryan Griggs.

        REQUEST FOR PRODUCTION NO.49: Produce all agreements between you and the

following individuals: Ed Jaeger, Scott Jarus, Fred CasCro, Thomas Kreig, Annie Evans, Jim

Rice, Lee Turlington, Rhonda Hoffarth, and Bryan Griggs. Please include any and all agreements

with each of those individuals post-Ironclad employment, including consulting agreements after

his or her employment, severance agreements, non-compete agreements, non-disclosure

agreements, and confidentiality agreements.

        REQUEST FOR PRODUCTION NO.50: Produce a sample of every glove marketed

as a co-branded KONG/Dickies glove, including, without limitation, the Dickies Heavy Duty

Waterproof Impact, Dickies Heavy Duty Impact, Dickies Heavy Duty Deck Hand, Dickies

Heavy Duty Knit (Cut Level 5), Dickies Heavy Duty Super Grip Impact, Dickies Heavy Duty

(Cut Levet 5), and any other glove similar to those above that is currently in development.

        REQUEST FOR PRODUCTION NO.51: Produce a sample of every glove marketed

as an Ironclad Industrial Glove including, without limitation, the Vibram FR, Vibram Insulated

Waterproof, Vibram OBM, Vibram OBM Cut 5, Vibram OBM XOR, Vibram Rigger, Vibram


ORR'S FIRST DISCOVERY REQUESTS
                                                16



                                                                                    APPENDIX - 2
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Annual Report as filed with the Securities and Exchange Commission, the "qualified partner"

referred to in relation to the KONG glove is Orr.

        REQUEST FOR ADMISSION NO.8:                 Admit that, in 2013, Orr contacted Ironclad

to discuss developing an impact-protecCion glove for use by Quanta Services Inc. (Che "Quanta

Project")

        REQUEST FOR ADMISSION NO.9:                 Admit that Orr informed        Ironclad   in

communications regarding the Quanta Project that Quanta Services Inc. was seeking a KONG-

brand glove.

        REQUEST FOR ADMISSION NO. 10:               Admit that the samples Ironclad sent to

Quanta Services Inc. for testing in 2013 for the Quanta Project were not branded as KONG

gloves, but were branded as the "Ironclad Rigger Cut-5."

        REQUEST FOR ADMISSION NO. ll:               Admit that the "Ironclad Rigger Cut-5"

featured the same distinctive back-of-the-hand protection, in the same pattern, as KONG gloves.

        REQUEST FOR ADMISSION NO. 12:               Admit that Ironclad, in discussions with Orr

regarding the Quanta Project, conceded that its branding of the glove produced for the Quanta

Project as an Ironclad glove rather than a KONG glove would have been a breach of Ironclad

and Orr's Exclusive License and Distributorship Agreement dated January 6, 2009.

                                     Respectfully submitted,

                                    /s/Jennifer Metzger Stinnett
                                    Benjamin C. Fultz(admitted pro hac vice)
                                    Jennifer Metzger Stinnett (admitted pro hac vice)
                                    FULTZ MADDOX DICKENS PLC
                                    2700 National City Tower
                                    Louisville, Kentucky 40202
                                    Telephone:(502)588-2000
                                    Facsimile:(502)588-2020
                                    bfultz@fmdlegal.com
                                    jstinnett@fmdlegal.com
ORR'S FIRST DISCOVERY REQUESTS
                                               19



                                                                                   APPENDIX - 3
Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                 Page 4 of 22 PageID 1487




                                  -and-

                                  Gregory M. Sudbury
                                  Texas Bar No. 24033367
                                  Rachel Lee Hytken
                                  Texas Bar No. 2402163
                                  QUILLING,SELANDER,LOWNDS, WINSLETT & MOSER,P.C.
                                  2001 Bryan Street, Suite 1800
                                  Dallas, Texas 75201
                                  (214)871-2100(Main)
                                  (214)871-2ll 1 (Fax)
                                  gsudbury@gsiwm.com

                                  Counselfor Defendant and Counterclaim Plaintiff
                                  Orr Safety Corporation




ORR'S FiRS7' DISCOVERY REQUESTS
                                           2~



                                                                             APPENDIX - 4
Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                 Page 5 of 22 PageID 1488




                                 '-

       This is to certify that a true and correct copy of the foregoing document was served upon
the following counsel via emai] on December 16, 2015, in accordance with the agreement
reached between the parties for electronic service and the Federal Rules of Civil Procedure:

        Daniel H. Charest
        Warren T. Burns
        Will Thompson
        BURNS CHAREST LLP
        500 North Akard Street, Suite 2810
        Dallas, Texas 75201
        dcharest@burnscharest.com
        wburns@burnscharest.com
        wthompson@burnscharest.com

       Joshua Stambaugh
       Michael Sherman
       Stubbs Alderton & Markiles LLP
       15260 Ventura Blvd., 20th Floor
       Sherman Oaks, CA 91403
       jstambaugh@stubbsalderton.com
       masherman@stubbsalderton.com

        Counselfor Plaintiff/Counterclaim
        Defendant


                                             Is/ Jennifer Metzger Stinnett
                                             Counsel,for Defendant/Counterclaim Plaintiff




QRR'S FIRST DISCOVERY REQUESTS
                                               2~



                                                                                  APPENDIX - 5
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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION
IRONCLAD PERFORMANCE WEAR       §
CORPORATION,                    §

        Plaintiff,                                §
                                                  § Civil Action No. 3:1.5-cv-03453-D
 v.                                               §

ORR SAFETY CORPORATION,                           §

        Defendant.                                § JURY TRIAL DEMANDED

      PLAINTIFF'S RESPONSES TO DEFENDANT'S FIRST SET OF DISCOVERY
                               REQUESTS

TO:    Defendant, by and through their attorneys of record, Benjamin C. Fultz, Jennifer Metzger
       Stinnett, FULTZ MADDOX DICKENS PLC, 2700 National City Tower, Louisville,
       Kentucky 40202 and Gregory M. Sudbury, and Rachel Lee Hytken, QUILLING,
       SELANDER, LOWNDS, WINSLETT & MOSER, P.C., 2001 Bryan Street, Suite 1800
       Dallas, Texas 75201.

       Pursuant to Federal Rules of Civil Procedure 26, 34, and 36, Plaintiff Ironclad Performance

Wear Corp. responds to the First Discovery Requests from Defendant ORR Safety Corp.

                                    GENERAL OBJECTIONS

                Plaintiff objects to each instruction, definition, or request that seeks to impose

obligations inconsistent with the Federal Rules of Civil Procedure, the Local Rules of the United

 States District Court for the NorChern District of Texas (the "Local Rules"), or the Court's rules.

        2.      Plaintiff objects to each interrogatory request Co the extent that it calls for the

 production of documents protected by the attorney-client privilege, the work-product doctrine,

Federal Rule of Civil Procedure 26(b)(4)(B), or any other applicable evidentiary privilege,

 doctrine, or protection from discovery (hereafter, "privileged information")

        3.      Plaintiffobjects to each interrogatory or request to the extent that compliance would

 be unduly burdensome ar not proportional to the needs of the case. In particular, because of the




                                                                                       APPENDIX - 6
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of settlement and mediation materials. Plaintiff further objects to this request to the extent it seeks

confidential and proprietary information and/or trade secrets.

        Subject to and without waiving any of the general or specific objections, Plaintiff responds

as follows: Plaintiff will produce responsive documents, not privileged or otherwise protected from

disclosure, if any, that can be found following a reasonable and diligent search.

REQUEST FOR PRODUCTION NO.48:

        Produce the personnel files for Ed Jaeger, Scott Jarus, Fred Castro, Thomas Kreig, Annie

Evans, Jim Rice, Lee Turlington, Rhonda Hoffarth, and Bryan Griggs.

RESPONSE TO REQUEST F4R PRODUCTION NO.48:

        Plaintiff repeats and incorporates by reference each ofits general objections as set out above

in full. In addition to and without waiving the general objections, Plaintiff objects to this request to

the extent that it seeks the production ofdocuments protected by applicable constitutional, statutory

or common law privileges and/or protections, including of third parties, and including but not

limited to the attorney-client privilege, the attorney work-product doctrine, the common interest

doctrine, rights of privacy including but not limited to private financial or tax information, and the

protection of settlement and mediation materials. Plaintiff further objects to this request to the

extent it seeks confidential and proprietary information and/or trade secrets. Plaintifffurther objects

to this request an the grounds that is it overbroad, harassing, unduly burdensome and oppressive,

and that the documents this request seeks are neither relevant nor reasonably calculated to lead to

the discovery of admissible evidence.

       Subject to and without waiving any ofthe general or specific objections, Plaintiff responds

as follows: Plaintiff will not produce any documents in response to this request. Plaintiff stands

ready to meet and confer to determine if this request can be properly defined, modified, and limited

so that it is confined to a relevant, reasonable, and identifiable collection of documents, with

appropriate third party consents.




                                                 -51-


                                                                                          APPENDIX - 7
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REQUEST FOR PRODUCTION NO.49:

        Produce all agreements between you and the following individuals: Ed Jaeger, Scott Jarus,

Fred Castro, Thomas Kreig, Annie Evans, Jim Rice, Lee Turlington, Rhonda Hoffarth, and Bryan

Griggs. Please include any and all agreements with each ofthose individuals post-Ironclad

employment, including consulting agreements after his or her employment, severance agreements,

non-compete agreements, non-disclosure agreements, and confidentiality agreements.

RESPONSE TO REQUEST FOR PRODUCTION NO.49:

        Plaintiff repeats and incorporates by reference each of its general objections as set out above

in full. In addition to and without waiving the general objections, Plaintiff objects to this request to

the extent that it seeks the production ofdocuments protected by applicable constitutional, statutory

or common law privileges and/or protections, including of third parties, and including but not

limited to the attorney-client privilege, the attorney work-product doctrine, the common interest

doctrine, rights of privacy including but not limited to private financial or tax information, and the

protection of settlement and mediation materials. Plaintiff further objects to this request to the

extent it seeks confidential and proprietary information and/or trade secrets. Plaintifffurther objects

to this request on the grounds that is it overbroad, harassing, unduly burdensome and oppressive,

and that the documents this request seeks are neither relevant nor reasonably calculated to lead to

the discovery of admissible evidence.

       Subject to and without waiving any of the general or specific objections, Plaintiff responds

as follows: Plaintiff will not produce any documents in response to this request. Plaintiff stands

ready to meet and confer to determine if this request can be properly defined, modified, and limited

so that it is confined to a relevant, reasonable, and identifiable collection of documents, with

appropriate third party consents.

REQUEST FOR PRODUCTION NO.50:

       Produce a sample of every glove marketed as a co-branded KONG/Dickies glove,

including, without limitation, the Dickies Heavy Duty Waterproof Impact, Dickies Heavy Duty

Impact, Dickies Neavy Duty Deck Hand, Dickies Heavy Duty Knit(Cut Level 5), Dickies Heavy

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                                                                                         APPENDIX - 8
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                                                                     ~~~



                                                      Daniel H. Charest
                                                      State Bar No. 24057803
                                                      Warren T. Burns
                                                      State Bar No. 24053119
                                                      Wiil Thompson
                                                      State Bar No. 24094981
                                                      BURNS CHAREST LLP
                                                      500 North Akard Street, Suite 28]0
                                                      Dallas, Texas 75201
                                                      Telephone:(469)904-4550
                                                      Facsimile:(469)444-5002
                                                      dcharest~burnscharest.com
                                                      wburns@burnscharest.com
                                                      wthompson@burnscharest.com

                                                      Attorneys for PlaintifflCounterclaim
                                                      Defendant
Of Counsel:

Michael A. Sherman (California Bar No. 94783)
Admitted Pro hac Vice
Joshua S. Stambaugh (California Bar No. 233834)
Admitted Pro hae Vice
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15260 Ventura Boulevard, 20th Floor
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Facsimile:(818)444-4520
masherman@stubbsalderton.com
jstambaugh@stubbsalderton.com

Attorneys for Plaintiff/Counterclaim Defendant




                                                 .F



                                                                                    APPENDIX - 9
Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                   Page 10 of 22 PageID 1493




                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy ofthe foregoing instrument has been served on

 the following counsel of record, this 15th day of January, 2016, via email as indicated below:

Benjamin C. Fultz
Jennifer Metzger Stinnett
FULTZ MADDOX DICKENS PLC
2700 National City Tower
Louisville, Kentucky 40202
bfultz@fmdlegal.com
jstinnett@fmdlegal.com

Gregory M. Sudbury
Rachel Lee Hytken
QUILLING, SELANDER, LOWNDS, WINSLETT & MOSER, P.C.
2001 Bryan Street, Suite 1800
Dallas, Texas 752Q1
gsudbury@gslwm.com
rhytken@gslwn.com




                                                    ls/ Will Thompson
                                                    Will Thompson




                                                                                    APPENDIX - 10
                Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                         Page 11 of 22 PageID 1494
 Matt Williams

From:                                           Jennifer Metzger Stinnett
Sent:                                           Thursday, May 26, 2016 11:41 AM
To:                                             'Michael Sherman'
Cc:                                             Daniel Charest; Will Thompson (wthompson@burnscharest.com); Larry Vincent; Andrew
                                                Bynum (abynum@burnscharest.com); Barak Kamelgard; Ben Fultz; Twila Carson; Corey
                                                Shapiro; Amy Hoagland; David Harris
Subject:                                        RE: Depositions


 Understood on deposition dates. We have to get these confirmed because everyone's summer schedules are filling
 up. Please let me know as soon as you know.

As to why Orr is entitled to the personnel files, there are many reasons. These folks were intimately involved in the Orr-
IC relationship, so these files will contain information likely to lead to admissible evidence. The files will no doubt have
information relevant to Orr, Kong, and the parties' evolving relationship. Their separations from IC are obviously
discoverable since they left right before or right after when the new leadership tearr~ at IC started in early 2014. Their
job responsibilities had them working with KONG and Orr all the time, so we are entitled to know about their entire
relationship with 1C in this regard. Orr is entitled to know anything about theirjob performance and history at IC given
the significant amount of responsibilities devoted to ORR and KONG.

Please advise when someone on your team can discuss this time sensitive issue today or tomorrow. We need these
produced no later than Tuesday in order to meaningfully review them.

Thanks,

Jenny




Jennifer McCzger SfznnetT
1f)1 Sca~iTh I~iftl~ ~;tr~c:ct, 2it.}~ Fic>or
Louisti-~illc7, KY ~~~02t72




jst:iilri~ ~tt~~ `r~~idlega;.c~.oa~~l
~~~~ ~v.fmdl ~;;~3i.i.'ortx


From: Michael Sherman [mailto:masherman@stubbsalderton.com]
Sent: Wednesday, May 25, 2016 4:38 PM
To: Jennifer Metzger Stinnett
Cc: Daniel Charest; Will Thompson (wthompson@burnscharest.com); Larry Vincent; Andrew Bynum
(abynum@burnscharest.com); Barak Kamelgard; Ben Fultz; Twila Carson; Corey Shapiro; Amy Hoagland; David Harris
Subject: RE: Depositions

Ni Lenny

 would be the one handling this. Recall that my son is getting married this weekend and I'm in New York at present.



                                                                                                        APPENDIX - 11
         Case I3:15-cv-03453-D
Re depositions,                        Document
                should have same additional         68-1 far
                                               information Filed
                                                              you06/17/16
                                                                  tomorrow. I Page  12 of 22 been
                                                                              have personally  PageID   1495
                                                                                                  speaking with
some of the witnesses, as recently as this afternaan.

Re the document issue, a question: obviously personnel files are always a sensitive issue in just about any litigation
other than employment litigation with the affected employee {and even then ...). We had indicated in our response
{which you were kind enough to provide us that "Plaintiff stands ready to meet and confer to determine if this request
can be properly defined, modified, and limited so that it is confined to a relevant, reasonable, and identifiable collection
of documents, with appropriate third party consents"j. Knowing of our position, can you share in advance what you
have in mind, so we could at least consider this, in advance of any meet and confer in order to discuss with our client
and potentially even the employees in issue. Assuming your answer is "yes," i.e., you'!i share some thoughts in advance,
can you do that, we'IP then take the information back to the appropriate people, and then get back to you?

inasmuch as i know that in any meet and confer on the subject we'll need to take whatever your position is to others
and discuss with them, and given that I am really tied up in pre-wedding plans now, i would like to see where you are
coming from, first, and then (could get back to you. OK?

Thanks
MAS




                                                                        .~`,'`'i'
                                                                              '                      s.~__r~tt flit
                                                                                  .~_,_   ~:";   ~


    ~X                                                                              N9ichaei A. Sherman
                                                                                                  Partner
                                                                               masherman@stubbsalderton.com



   Stubbs Aiderton & Markiles, LLP
   15260 Ventura 81vd., 2pth Floor
   Sherman Oaks, CA 91403                                                                        BuS:818.444.4528
                                                                                                 Fax: 818.444.6328
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   Santa Monica, CA 94401




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under the U.S. Internal Revenue Code or (2) promoting, marketing or recommending to another party any tax-related matters addressed herein.




From:lennifer Metzger Stinnett [mailto:istinnett~fmdie~al.com]
Sent: Wednesday, May 25, 201612:06 PM
To: Michael Sherman <masherman stubbsalderton.com>
Cc: Daniel Charest <dcharest@burnscharest.com>; Will Thompson (wthom sonCc~burnscharest.cam)
<wthompson~burnscharest.com>; Larry Vincent <lvincentCc~burnscharest.corr~>; Andrew Bynum
(abvnum~burnscharest.com) <ab ny umCa?burnscharest.com>; Barak Kamelgard <bkarnel~ard stubbsalderton.com>;


                                                                                                                                 APPENDIX - 12
             Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                     Page 13 of 22 PageID 1496
Ben Fultz <k~fuitz fmdie ai.cam>; Twila Carson <tcarson@fmdlegal.cam>; Corey Shapiro <cshapiroCa?fmdl~al.com>;
Amy Hoagland <ahoa Sand fmdle aP.com>
Subject: RE: Depositions

Gentlemen:

First, please advise of your availability {or at least one of you)to meet and confer tomorrow or Friday on the following
discovery request and ironclad's response to the same:

REQUE5T FC}R PRODUCTION N0. 48: Produce the personnel files for Ed Jaeger, Scott Jarus, Fred Castro, Thomas Kreig,
Annie Evans, Jim Rice, Lee Turlington, Rhonda Hoffarth, and Bryan Griggs.


RESPONSE TO REQUEST FOR PR(3DUCTION NO.48:
Plaintiff repeats and incorporates by reference each of its general objections as set aut abaue in full. !n addition to and
without waiving the general objections, Plaintiff objects to this request to the extent that it seeks the production of
documents protected by applicable constitutional, statutory or common law privileges and/or protections, including of
third parties, and including but not limited to the attorney-client privilege, the attorney work-product doctrine, the
common interest doctrine, rights of privacy including but not limited to private financial or tax information, and the
protection of settlement and mediation materials. Plaintiff further objects to this request to the extent it seeks
confidential and proprietary information and/or trade secrets. Plaintiff further objects to this request on the grounds
that is it overbroad, harassing, unduly burdensome and oppressive, and that the documents this request seeks are
neither relevant nor reasonably calculated to lead to the discovery of admissible evidence.

Subject to and without waiving any of the general or specific objections, Plaintiff responds as follows: Plaintiff will not
produce any documents in response to this request. Plaintiff stands ready to meet and confer to determine if this
request can be properly defined, modified, and limited so that it is confined to a relevant, reasonable, and identifiable
collection of documents, with appropriate third party consents.

Second, I still did not hear back regarding the deposition dates. Please advise.

Jenny


                                  tiQ1~~'.~1j~

Jennifer Metzler Stinnett
101. Sc~t.ith F~iftll Str~~~~t, 2it}t 1^laor
I,ouisvill~, KY -~U2U?.,

Direct: iiU2.;:~88.?,0~6
Fax 60?.~;88.>0'7{}
 ~,~tiiii,,,i ,'rndle~^il.corr~
~~tiv~~.fr! 3` ~,~ ~ rorxr

From: Michael Sherman [mailtc~:masherman~c~stubbsaidertan.com]
Sent: Monday, May 23, 2016 6:32 PM
To: Jennifer Metzger Stinnett
Cc: Daniel Charest; Will Thompson (wthompsonCc~burnscharest.com); Larry Vincent; Andrew Bynum
(abynum~burnscharest.cnm); Barak Kamelgard; Ben Fultz; Twila Carson; Corey Shapiro; Amy Hoagland
Subject: RE: Depositions

Jennifer



                                                                                                   APPENDIX - 13
           Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                       Page 14 of 22 PageID 1497
Matt Williams

From:                               Jennifer Metzger Stinnett
Sent:                               Thursday, June 02, 2016 3:37 PM
To:                                  Michael Sherman (masherman@stubbsalderton.com); Barak Kamelgard
                                    (bkamelgard@stubbsalderton.com); Daniel Charest (dcharest@burnscharest.com); Will
                                    Thompson (wthompson@burnscharest.com); Andrew Bynum
                                    (abynum@burnscharest.com)
Cc:                                 Ben Fultz; Twila Carson; Corey Shapiro; Amy Hoagland; Matt Williams
Subject:                            RE: 6-1-16 Call


Michael

As promised, I am following up to our call regarding the personnel files. As an initial point, I said on the call that I would
try and get Rice and Castro's written approval to get the files. But after more thought, and review of the case law, 1 do
not believe that is necessary because Orris clearly entitled to this discovery. I agree with you that this is not an issue
worth filing a motion to compel over, but I think it is because what we have requested is entirely reasonable and within
the bounds of discoverable evidence.

You indicated on the call that Ironclad believes there is a higher discovery standard for personnel files in the Fifth Circuit
and that our reasoning previously provided for the same did not reach that standard. We disagree. Courts in the 5`n
Circuit routinely grant motions to compel production of personnel files in cases. See, e.g., Seibu v. KPMG tLP, 2002 WL
87461 (N.D. Tex.lan. 18, 2002); Barber v. Do/gencorp of Texas, Inc., 2010 WL 1375193 (E.D. Tex. Mar. 31, 2010); Riley v.
Wa/green Co., 233 F.R.D. 496 (S.D. Tex. 2005). Those courts dismiss any concerns regarding private information by
requiring the parties enter a confidentiality agreement or protective order, which already exists in this case, and would
protect the employees' confidentiality. See Riley, 233 F.R.D. at 500("Walgreen's concerns about protecting employee
privacy can be dealt with through a confidentiality agreement limiting their use and disclosure"); E.E.O.C. v. Knight
Transp., Inc., 2008 WL 4056189(N.D. Miss. Aug. 25, 2008)(recognizing the relevancy of personnel files but noting it "is
also concerned about the privacy of those individuals who are not a party to the case. Consequently, the defendant will
produce such documents subject to the terms of the protective order.")(emphasis suppliedj.

You indicated the files were only 160 pages. This is not burdensome. Furthermore, we agree that these can be
confidential and subject to the confidentiality agreement. We agree that all social security numbers and family
information can be redacted. This seems to be what the Fifth Circuit law was concerned with, as well as adverse parties
asking for an entire company's personnel files, which we are not doing here. See, e.g., Clemons v. Dollar Gen'I Corp.,
2010 WL 1994809 (N.D. Miss. May 18, 2010). We are asking for the files of former employees whose jobs had them
interacting with Orr and with KONG on a daily basis and who left the company in a point of time that Orr believes is
critical in this litigation. We are entitled to make our own decisions as to what is important or not.

If you would like to give a more detailed inventory, we will narrow the request. We definitely want all agreements with
Ironclad and all performance reviews. We do not necessarily want insurance forms or copies of drivers' licenses, but
think the remainder of the files should be produced.

Please reconsider your blanket refusal to produce these files. If you want to exchange a detailed inventory, we are
willing to review that in an effort to narrow the request. But right now we are really shooting in the dark.

Thanks,

Jenny




                                                                                                    APPENDIX - 14
           Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                       Page 15 of 22 PageID 1498
 ♦ ~,~,~ 1T~Ax 14-'~}~~tb J✓j~k11~~i~w;~


                             ;t,d li. ~:i~l.~t



Jennifer Metzger Stinnett
101 South Fifth Street, 27th Floor
Louisville, KY 40202
Alain: 502.588.2000
Direct 502.588.2026
Fax:502.588.2020
jstinnett@fmdlegal.com
www.fmdlegal.com


From: Jennifer Metzger Stinnett
Sent: Wednesday, June O1, 2016 8:00 PM
To: Michael Sherman (masherman@stubbsalderton.com); Barak Kamelgard (bkamelgard@stubbsalderton.com); Daniel
Charest(dcharest@burnscharest.com); Will Thompson (wthompson@burnscharest.com); Andrew Bynum
(abynum@burnscharest.com)
Cc: Ben Fultz; Twila Carson; Corey Shapiro; Amy Hoagland; Matt Williams
Subject: 6-1-16 Call

Michael —

Below is a summary of the call. Please let me know if you have anything to add/clarify.,

Depositions:
        McCown —one day the week of June 13-17(with a preference not on the 13`h for travel purposes) -Dallas
    - Rice —June 22(subject to confirmation with the witness} —San Diego
    - Castro —June 23(subject to confirmation with the witness) —Los Angeles
        DiGregorio —July 6(starting early am —like 8 am)—please provide alternative dates in the following week of July
        if this does not work asap. If I do not hear from you, I will assume it works.
    - Clayton —July 6 (starting when done with DiGregorio —likely 10 pm)—please provide alternative dates in the
       following week in July if this does not work asap. If I do not hear from you, i will assume it works.
    - For both DiGregorio and Clayton you indicated you may need an agreed upon stop time due to a flight. We are
        willing to do so but with the caveat that the remainder of the deposition may need to be continued for another
       day.
    - Griggs —You are confirming a date in July for him.
    - I have asked for dates from my client for the following Orr employees (July/August): Sweedler, Aldridge, Clark
       Orr, Charlie Strickland, George Smith
   - You indicated you would be noticing some third parties depositions(Marathon, although not sure what entity as
       of yet and Tony Saccocioj but that you would work on dates with us.

Personnel files:

You indicated on the call that Ironclad believes there is a higher discovery standard for personnel files in the Fifth Circuit
and that our reasoning previously provided for the same did not reach that standard. We are looking into the case law
you cited and determine if the Fifth Circuit requires the personnel file request to be limited. If we agree with this
interpretation, we will more narrowly tailor the request. However, we do believe that, based on your representations as
to what was contained in the personnel files, some of the information within these files will be responsive to other
discovery requests Orr has made (everything referencing Orr, for example). I also point out that you indicated the
entirety of the personnel files was only 160 pages, so it is not burdensome to produce. Finally, we wilt agree that these
can be confidential and subject to the confidentiality agreement and that all social security numbers and family
information can be redacted.



                                                                                                   APPENDIX - 15
 hope to Case
         have a 3:15-cv-03453-D       Document 68-1 Filed 06/17/16
                firm answer to this tomorrow.                                   Page 16 of 22 PageID 1499

Other:

You indicated that Barak is going to respond to the privilege issues raised in our letters. Who is going to respond to
Corey's ESI letter?

Thanks,

Jenny




Jennifer Metzger Stinnett
101 SouCh Fifth Street, 27th Floor
Louisville, KY 40202
~l~lain: 502.588.2000
Direct: 502.588.2026
Fax:502.58&.2020
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www.fmdlegal.com




                                                                                                APPENDIX - 16
    Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16                                     Page 17 of 22 PageID 1500


                                                                            Michael A. Sherman
         r ~ `~ I STUBBS
       &,~ ~; ALDERTON &                                                    Partner
                  MARKiLES, LLP                                             Direct Voice   818.444.4528
                                                                            Direct Fax     818.444.6328
                                                                            Mobile         818.631.9109
                                                                            E-Mail         r~nas erm~n(ais ubbsaidertan.a~m




     June 1 Q, 2016



      VIA E-]TAIL
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      tc ~i~r~?i~-r, ~r J„rcf,r.~,ti~rT.~ i~~trt


      Jennifer Metzger Stinnett, Esq.
      Corey Shapiro, Esq.
      Fultz Maddox Dickens PLC
      101 S. Fifth Street, 27`x'Floor
      Louisville, Kentucky 40202

                  Re:         Ironclad Performance Wear Corp. v. ORR Safety Corp.
                              Case No.3;15-CV-3453-D

      Dear Counsel:
                                                                                                      ")
               I write in response to your June 2,2016 email concerning ORR Safety Cozp.'s("ORR
                                                                                          el files its
                                                                                                   of
      request that Ironclad Performance Wear Corp. {"ironclad") produce the personn
                                                                                           following a
      former employees. After careful consideration of ORR.'s stated position and
                                                                    Tronela d cannot  agree  to produce
      thorough review of the contents of multiple personnel files,
                                                                                      cally, the files of
      the requested documents. Having reviewed multiple personnel files (specifi
                                                                                            they do not
      Eduard Jaeger, Scott Jarus, Bryan Griggs, Fred Castro and aim Rice), we know
                                                                                            s, and their
      contain any information that has any relevance to the parties' claims or defense
                                                                      of Ironcla d's former  employees
      ~a•c~ciuctic~n would therefore unnecessarily invade the privacy
                                                                                    current  and  future
      ~~7e1 u~~~~r~nine Ironclad's ability to fairly grid honestly evaluate its
                                                                                     the personnel files
      employees. Under these circumst~ancGs,th4 relevant case law maintains that
      need not—indeed,should ~~c~t---m~; p~~oduc~c~.
                                                                                                                         ld
                  "There is a strong public policy against the disclosure of personnel files." McDona
                                                                                                       2001) (requiring
       v. F,xxonMobil Chem. Co., 2401 WL 34109381, ai *1 (S.D. Tex. Dee. 7,
                                                                               ~nts w~r~   "vi~a,l'" to  plaintiff's Title
       production pursuant to a protective order bee~t~s~ dc~c~l~n
                                                                                                  p~rso~~z  z~l files, a~~t~
       VII lawsuit). Employees have an inherent privacy :interest in ~lzcir
                                                                                                   c~~sxa I~~ r~G ;Yc~t~ellca
       justiti~bly c~x~~ect th~~t scccl~ ~Ie~ will lie kept cc~~~fct~:nti~l. Icy; sec
                                                                                                  (`'[~"1"]h~: intorznatic~n
       (Ili~~ur•c~xtr~iez~t~ f'rr~~~ztc~1~ Li~rl~. ~fti~., ~1~ F.R.I. ~~, 37 (~.t~. i..a. ?016)
                                                                                      interest E.E.O.C. v. Knaght
                                                                                                );
       i~ p~~•sc~na~~l ~•ee~r~1~ ii~v~ri~a}~l~O co~lt~i~~s a ~si~nificant privacy
                                                                                                {noting "the inherent
        7i-carrsr~., I~7c:•,, 200$ Wl, 4~}~~l €39, ~t * 1 (N.T). Miss. Aug. 25, 2008)
                                                                                               ant interest in keeping
        privacy interests" in personnel files). Employers also have a signific

                                                                          1453 3rd Street Promenode, Suite 300 ■Soma Moniccs, CaliFomia 90401
15260 Ventura Boulevard, 201h Floor +» Shenna~, Oaks, California 91 d03                  c~fii.~e 310J4b.9800.~c:r 310.345.5292
             c~ffic~:.g18.444.4500 ■ i~~x 818.444.4520
                                                          www.stub6salderton.com
                                                                                                              APPENDIX - 17
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 Jennifer Metzger Stinnett, Esq.
 Corey Shapiro, Esq.
 June 1 U, 2016
 Page 2


their employees' persoruael files confidential since the "disclosure of personnel files and [the]
evaluations [they contain] would discourage the candid evaluations of employees and thereby
hamper the ability of companies to maintain their standards and improve their performance."
McDonald, 2001 WL X4109381, at * 1; see also In re Sunrise Sec. Litig., 130 F.R.D. 560, 580
(E.D. Pa. 1989} {"Strong public policy exists against disclosure of the personnel records ...
because disclosure would invade [the] employees' privacy, and firms might cease to frankly
criticize their own [employees'] performance."(internal quotations omitted)).

        Given that employees and employers both have a legitimate interest in maintaining the
confdentiality of their personnel files, the Fifth Circuit has held that district courts should
order disclosure only after carefully considering various factors, including {1)"whether the
inf~rination sought is factual data or evaluative summary" and (2) "the importance of the
information sought to the .,. case." Coughlin v. Lee, 946 F.2d 1152, 1160 (5th Cir. l 991)
                                                                                           Rizzo};
(directing courts to apply the factors identified in the case of Frankenhauser v.
Frankenhauser v. Rizzo, 59 F.K.D. 339, 344 (E.D. Pa. 1973) (setting forth the factors).
 Applying this test, "[c]ourts in the Fifth Circuit allowing the disclosure of personnel records
have done so only when the personnel files contained material highly relevant to the case at
hand." In re Xarelt~, 313 F.R.D. at 37. Indeed, production should nat be required "absent a
compelling demonstration of relevance." Clemons v. Dollar Uen. Corp., 2010 WL 1994809,
 at *5 (N.D. Miss. May 18, 2010)(emphasis added). Such a "compelling" demonstration of
relevance must be made with "particularity on awitness-by-witness basis." In re Xarelta, 313
F.R.D. at 3$. (concluding that the "one-size-fits-all discovery requests f`or eight separate
 categories of documents for all deposed witnesses ... is insufficient under the [Fifth Circuit's]
 standard"}.

         Here, as indicated in your June 5 email, ORR is specifically seeking the performance
 reviews (i.e., "evaluative summaries"} contained in the personnel files of Ironclad's former
 employees, which the Fifth Circuit has recognized as particularly sensitive documents
 deserving of extra protection. ORR has not and canna demonstrate—let alone compellingly
 demonstrate—that these documents are so relevant to this case as to overcome the strong public
 policy against their disclosure. This is not a case that involves a claim of work-place
 discrimination, work-place harassment, or wrongful termination, where personnel files might
 be the only means of showing that an employee was treated differently from other, similarly
 situated employees. Rather, this is a case that involves relatively straightforward breach of
 contract claims between t~ua corporations {not between individuals), and the personnel files
                                                                                                of
 are, on their face, entirely irrelevant to those claims. The perf`armance evaluations
 Ironclad's former employees do not shed any light on whether ORR failed to properly market
 KONG gloves or sold gloves that competed with and were comparable to KONG gtoves. Nor
 do they shed any light on any of Ironclad's or ORR's contract-based claims. You are certainly
                                                                                                of
 free to inquire with any individual in deposition the reasons that person had for the severing
 his/her relationship with Ironclad, as well as any reason that may have been given to that person




                                                                                     APPENDIX - 18
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 Jennifer Metzger Stinnett, Esq.
 Corey Shapiro, Esq.
 June 10, 2016
 Pale 3


 by Ironclad for the severing of his/her employment relationship. Btrt going beyond that by
 now insisting on production of personnel files is inappropriate for the reasons provided herein.

         Even though the personnel files are facially irrelevant to this case, we took the #ime to
 thoroughly review all of the documents contained in the personnel files for Eduard Jaeger,
 Scott Jarus, Bryan Griggs, Fred Castro and Jim Rice. Our review has confirmed that there is
 no reason to produce the personnel fries. Two of the personnel files do not contain a single
 reference to either ORR or KONG. Two of the other files only refer once to either ORR or
 KONG to specifically state that they are not including ORR ar KONG in the topic being
 discussed. And the remaining file references ORR(not KONG)only in passing in a completely
 unrelated context. There is, in short, nothing in the files that is in any way relevant to this
 case—and certainly nothing so carnpellingly relevant as to justify the disclosure of
 performance reviews offormer employees who are not parties to this action. Based on the case
 law and our review ofthe files, we respectfully stand by our original response to ORR's request
 for production: we will not produce the requested documents.

         We believe that this letter clearly sets forth our position on the personnel files.

                                                        Very truly yours,      ~

                                                          ~''`~
                                                        ~icl~~iel A. Sherman


 MAS/jez




                                                                                       APPENDIX - 19
To:       Vane Clayton2[vclayton@kpaonline.com)
From:        Case
          Jeff      3:15-cv-03453-D Document
               Cordes                                        68-1 Filed 06/17/16        Page 20 of 22 PageID 1503
Sent:     Sun 4/2712014 3:55:13 AM
Importance:          Normal
Subject: Re: New heads up
Received:           Sun 4/27/2014 3:55:14 AM

We are cobra ding on redwing and my guess ditto on Dielcies -still not landed on redwing altho~rgh tallc is goad

Monday

Sent from my iPhone
 Jeffrey Cordes
 JVC Ventures
 Phone (817)832 0453
 Slcype ~817~ 439 (i45S
 Email: jeft.cordes ~xjvcvent~ires.eom
 llae. best ~vcry to predict thefi~tzrNe is to cr~c~te itl

On Apr 2~, 2014, at 8:58 PM,°V~r~e Cl~ytan" <vclayton~kpaanline.caiu> wrote:



        Jeff,

        Would Dickies and Redwing be selling the Ironclad/Kong brands, co-branding or rebranding? Very
        exciting that you have gotten both to the table so quickly. Talk on Monday.

        Vane Clayton
KPA(CEO ~ vclavton(a~kpaoniine.com ~ Office:(303)228-8760 ~ Mobile:(720)470-7411 ~ www.kpaonline.com

<image001.png>
Introducing DipiGo, a KPA company.
~igiGo offers custom websifes, SEO, marketing programs and social media management to optimize their clients'total onlina
        presence,

         From: Jeff Cordes [mailto:ieffc@ironclad.com]
Sent: Friday, April 25, 2014 6:08 PM
To: Vane Clayton
Cc: Jeff Cordes
Subject: New heads up

        Vane —little bit of a roller coaster here today — I am sure we will do the right thing about it
        over time but want to get you in the loop.




        This morning I received a call from Bryan Griggs who has just finished a con#erence call from
        the road with a "new distributor" out of Europe that Orr was setting up.
              b Come to find out ORR granted this new player Exclusive Distribution for all German
              speaking countries in the EU.
              d When asked what the opening order was for this right the distributor said we had to
               buy 2,000 units.
                                                                                     APPENDIX     - 20
                                                                                           Ironclad_0002962
      d When
     Case        asked aboutDocument
          3:15-cv-03453-D   how big the annual
                                      68-1      minimums
                                            Filed 06/17/16 were set21
                                                             Page      for
                                                                    toof 22this exclusive
                                                                              PageID  1504deal
      the response was... we have no minimums!
      d When asked well what experience do you have as distributors in this industry the
      answer was: We are caterers .., we dan't have any experience, we just thought we
      could sell gloves!




30 minutes later my new SVP Internatianal (Starts 8/1)calls and tells me that we has gotten
Dickies Senior management to go all Ironclad and Kong! Now 1 have the potential to have the
two largest players in Oil and Gas out there in Dickies and Redwing.

But watt.... We cannat do either deal with Redwing(K&L Ross) or Dickies because we now
have a "caterer" with the exclusive license to sell into most of Europe.

My new employee's response was fihis: "Jeff, I have put my rear on the line here and I can tell
you this... Dickies nor Redwing will work with you if Orr has done this and put their nose
where it does not belong. How could this have happened? How can ERR even be in this
picture?"

Bryan, at my request call Mark (brand managers at ORR and asked him;"Mark, did you really
do this? "Mark replies:"Yes I did. Isn't it great! They don't know gloves but they wanted to
try so I did it!" When asked did that mean that K&L Ross /Redwing could not sell into Europe
now the answer was.. that is correct they cannot.

Well if it was not clear before it is now. ORR is over its heads but they have no clue of it and
their egos won't allow them to see it. They can make a poor story for the USA and that is a
stretch. They have done nothing in Canada and clearly are at best bumbling idiots overseas.




                            However 1 cannot in good conscious allow this contract to
continue.




                                                                              APPENDIX  - 21
                                                                                   Ironclad_0002963
    Case 3:15-cv-03453-D Document 68-1 Filed 06/17/16 Page 22 of 22 PageID 1505
Vane —not dumping this on you — my issue(maybe opportunity) and I will handle. However,
value your counsel and thoughts.

Rlothing will change over the weekend so this can wait till Monday but I will touch base then.

Thanks so much for listening

Jeff




                                                                           APPENDIX - 22
                                                                                ronclad_OQ02964
